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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ROTHSCHILD BROADCAST               §
DISTRIBUTION SYSTEMS, LLC,         §
                                   §
    Plaintiff,                     §                       Case No: 4:19-cv-1211
                                   §
vs.                                §
                                   §
AMCREST INDUSTRIES, LLC            §
                                   §
    Defendant.                     §
__________________________________ §

                   NOTICE OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Rothschild Broadcast Distribution Systems, LLC voluntarily

dismisses this action against Amcrest Industries, LLC without prejudice pursuant to Rule

41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: May 6, 2019                      Respectfully submitted,

                                        /s/ Jay Johnson
                                        JAY JOHNSON
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        KIZZIA JOHNSON, PLLC
                                        1910 Pacific Ave., Suite 13000
                                        Dallas, Texas 75201
                                        (214) 451-0164
                                        Fax: (214) 451-0165
                                        jay@kjpllc.com
                                        bkizzia@kjpllc.com
                                        ATTORNEYS FOR PLAINTIFF
